 Case 5:19-cv-02456-FMO-SP Document 140 Filed 03/21/22 Page 1 of 2 Page ID #:2942



 1   GREENBERG TRAURIG, LLP
     Gregory A. Nylen (SBN 151129)
 2     nyleng@gtlaw.com
     18565 Jamboree Road, Suite 500
 3   Irvine, CA 92612-4410
     Telephone: (949) 732-6500
 4   Facsimile: (949) 732-6501
 5   GREENBERG TRAURIG, LLP
     Adil M. Khan (SBN 254039)
 6    khanad@gtlaw.com
     1840 Century Park East, Suite 1900
 7   Los Angeles, CA 90067
     Telephone: (310) 586-7700
 8   Facsimile: (310) 586-7800
 9   Attorneys for Defendants,
     Moss Bros. Auto Group, Inc.
10   and Susan Anderson

11                           UNITED STATES DISTRICT COURT
12                         CENTRAL DISTRICT OF CALIFORNIA
13
     JAMAL JOHNSON, individually and on     CASE NO. 5:19-cv-02456-FMO-SP
14   behalf of others similarly situated,
                                            [Assigned to Hon. Fernando M. Olguin]
15                      Plaintiff,
16   v.                                     DEFENDANTS MOSS BROS. AUTO
                                            GROUP INC. AND SUSAN
17   MOSS BROS. AUTO GROUP, INC.,           ANDERSON’S MOTION FOR LEAVE
     California Corporation; and SUSAN      TO MAKE TELEPHONIC
18   ANDERSON,                              APPEARANCE
19                      Defendants.
                                            DATE:            March 24, 2022
20                                          TIME:            10:00 a.m.
                                            COURTROOM:       6D
21
22                                          First Amended Complaint: Mar. 2, 2020
                                            Complaint Filed: December 20, 2019
23
24
25
26
27
28

                       DEFENDANTS’ MOTION FOR TELEPHONIC APPEARANCE
     ACTIVE 63743702
 Case 5:19-cv-02456-FMO-SP Document 140 Filed 03/21/22 Page 2 of 2 Page ID #:2943



 1                     REQUEST FOR LEAVE TO APPEAR TELEPHONICALLY
 2           Pursuant to the Court’s requirements and designated procedures, Defendants Moss
 3   Bros. Auto Group, Inc. and Susan Anderson (“Defendants”) request leave to have the
 4   option to appear telephonically at the final approval hearing set for March 24, 2022.
 5           Defendants’ counsel, Adil M. Khan, plans to attend the hearing in person, but has
 6   been placed on notice that he may be called for jury duty by the Superior Court of
 7   California, County of Los Angeles. If Mr. Khan must report for jury duty on March 24,
 8   then Defendants’ other counsel of record, Gregory A. Nylen, will appear for them.
 9   Because Mr. Nylen lives and works in Orange County and has other commitments that
10   day, Defendants ask that Mr. Nylen be permitted to appear by telephone or, if the Court
11   prefers, video-conference.
12           Defendants’ counsel conferred with Plaintiff’s counsel on March 21, 2022,
13   regarding this request. Plaintiffs’ counsel confirmed that they have no objection.
14
15   DATED: March 21, 2022                  GREENBERG TRAURIG, LLP
16
17                                          By:    /s/ Adil M. Khan
                                                   Gregory A. Nylen
18
                                                   Adil M. Khan
19                                           Attorneys for Defendants, Moss Bros. Auto Group,
                                             Inc. and Susan Anderson
20
21
22
23
24
25
26
27
28
                                                  1
                          DEFENDANTS’ MOTION FOR TELEPHONIC APPEARANCE
     ACTIVE 63743702
